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IN THE UNITED sTATEs DIsTRICT COURT"-' z _' 7
F0R THE MIDDLE DIsTRICT 0F TENNEssEE
AT NAsHvILLE

DAN CARLYLE, LORI D.. ATCHLEY

AND FLOYD K. WILKINSON,
CASE NO.:

PLAINTIFFS, JURY DEMAND

)
)
)
)
VS. )
)
CHARLES M. VAUGHN, )
CM VAUGHN, LLC, )
LIVID MEDIA, LLC, )
CM VAUGHN EMERGING VENTURES, L.P, )
CM VAUGI-IN ASSET MANAGEMENT, L.P.., )
AND JOHN DOES 1-4, )
)
DEFENDANTS. )
COMPLAINT
Corne the Plaintiffs, by and through counsel, and hereby sue the Def`endants, and for

cause would state and show as follows:

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THE PARTIES

ll The Plaintift`s, Lor‘i D., Atchley (“Atchley”), and Floyd K\. Wilkinson (“Wilkinson”)
are citizens and residents of the Middle District of `Tennessee, and they did business With
Defendants, Charles M, Vaughn, CM Vaughn, LLC, CM Vaughn Ernerging Ventures, L.\P.`,
and CM Vaughn Asset Management, L.iP\, in the Middle District of lennessee, for all times
material hereto.

2.. lhe Plaintiff; Dan Callyle (“Car‘lyle”), is a citizen and resident of Pr‘escott, Aiizona,
Who did business With Defendants, Charles M.\ Vaughn, CM Vaughn Emelging Ventur'es,
L.\P.`, CM Vaughn, LLC, and CM Vaughn Asset Managernent, L.P\., in the Middle Distr'ict of

lennessee and in Arizona.

Case 3:08-cv-00335 Document 1 Fi|qzd 04/07/08 Page 1 of 12 Page|D #: 1

 

3\. The Defendant, Charles Mi. Vaughn (“Vaughn”), is believed to be a citizen and
resident of`Atlanta, Geor‘gia, residing at 565 Tr'owbr'ook Road, Atlanta, GA 30350-6898, Who
has significant business contacts in the Middle District of Iennessee and Who has held
himself out to be an investment br‘oker', financial planner, corporate tax manager, and
investment advisor He has purported to sell the Plaintiff`s herein investments for hundreds of
thousands of dollars over the past two yearsl

4\. The Defendant, CM Vaughn, LLC, is believed to be a Georgia limited liability
company operated and controlled by Defendant, Vaughn, and used in his scheme to deprive
the Plaintiff`s of their money and convert their money from them.

5`. The Def`endant, Livid Media, LLC, is believed to be a Delaware limited liability
company With offices in New Yor‘k City and Atlanta through Which the Defendants, Vaughn,
conducted business and Which is believed to be owned and controlled by Defendant, Vaughn,
using proceeds from his illegal scheme.

6.. The Det`endants, CM Vaughn Emerging Ventur'es, L.P.` and Cl\/I Vaughn Asset
Management, L.P`., are purported to be limited liability partnerships controlled by Defendant,
Char'les M. Vaughn, and used by him to iiirther his illegal scheme

7. Ihe Det`endants, John Does 1-4, are individuals who have assisted Defendant, Char'les
M. Vaughn, in conducting his illegal schemel

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vENUE AND JURrsDrcTroN

8. Venue is proper in this Court in that the Defendants are located in the Middle Distr'ict
of lennessee and/or all acts complained of occurred or accrued in the Middle Distr'ict of

lennessee.i Venue is proper pursuant to 18 US\C § l965(a).`

Case 3:08-cv-00335 Document 1 Fi|e£j 04/07/08 Page 2 of 12 Page|D #: 2

 

9. Jurisdiction is proper pursuant to 18 U\.S\C. § 1964-68 and 1864(c), since this involves
a federal statute, namely, 18 U.iS.iC\ § 1964-68 and 1864(0)`.

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THE FAcrs

10 The Plaintiff`s aver that they are each victims of` a criminal scheme and artifice
employed by the Def`endants in the purported sale of` investments The Plaintiff`s averl that the
Def`endants have engaged in actions to obtain money and property from the Plaintiff`s in this
action through common law fr aud, as weil as mail and wire fraud

il Ihe Plaintiff`s aver that on divers days beginning in 2006 and continuing to the
present, the Def`endants used the mails and wires to defraud the Plaintiff`s of`their property and
money through the purported sale of investments in the Middle District of lennessee.

12. The Plaintiff`, Wilkinson, avers that he invested $ 355,000.00 with the Def`endants,
Charles M. Vaughn, CM Vaughn, LLC, CM Vaughn Emerging Ventures, LP.`, and CM
Vaughn Asset Management, L.P\., beginning in .]une, 2006. The Plaintiff` avers that from June
2006 forward he received monthly statements via the United States wires purporting to show
the total asset value of` his investments and a summary of` investments The Plaintiff` avers that
these representations were false.,

13\ The Plaintiff avers that these mailings showed false gains in his investments by and
through the Def`endants and that, in f`act, the Def`endants converted his money, and the
statements were, indeed, f`alse,

14 lhe Plaintif`f`, Atchley, avers that she invested $ 461,393.44 beginning in June, 2006
with the same defendants as Plaintiff; Wilkinson, and from that date forward she received

monthly statements showing her purported investments through the Def`endants.\ ihe Piaintiff'

Case 3:08-cv-00335 Document 1 Fi|e§i 04/07/08 Page 3 of 12 Page|D #: 3

avers that the Def`endants converted her money and that the statements sent were false and
that the proceeds from her investments were used in Def`endants’ various business interests

15 . The Plaintiff, Dan Carlyle, avers that on or about October 2, 2007 he invested
$ 250,000.\00 with CM Vaughn, LLC, and the other Def`endants, via check # 1115 drawn on
Wachovia Securities and he did so based on the representation that his investment would earn
a certain percentage annually., The Plaintiff` avers that the Defendants converted his money
and his money was, indeed, not invested as promised and that the Defendants converted his
money without his approvall

16. The Plaintiffs aver that the Defendant, Charles M.` Vaughn, made false representations
about actual returns and other information to induce them to invest their money with him and
his companies lhe Plaintiff`s aver that Defendant, Vaughn, knew at the time of his
representations to them that his representations were false and that, Charles M` Vaughn, did
so with the intent to induce them to invest money with him and his companies

17\ The Plaintiffs aver that the Defendants used the wires and mails to send
communications to the Plaintiff`s and to other third parties in perpetuation of`their scheme on
multiple days in the years 2006, 2007 and 2008\.

18. Ihe Plaintiffs aver that they have been injured as a direct and proximate result of the
Defendants’ actions and violations of 18 U.`S.\C\ § 1961 er seq.

19. The Plaintiffs aver that the Defendants obtained money from them through the
purported sale of investments in violation of` 18 U.`S.C.` § 1956, and used this money to further
their criminal enterprise and conspiracy in a continuous effort to defraud, steal, and collect

unlawful debts

Case 3:08-cv-00335 Document 1 Fi|eg 04/07/08 Page 4 of 12 Page|D #: 4

20\. The Plaintiff`s aver that the Defendants engaged in a continuous scheme and criminal
enterprise by selling the Plaintiff`s purported investments without the present intent to actually
do so.

21. lhe Plaintiff`s aver that the Def`endants conducted or engaged in activities of these
enterprises through a pattern of racketeering activity (as defined in 18 U.\S\C.\ § 1961), in
violation of 18 U.S.C\ § 1962(c),

22. The Plaintiffs aver that the individual Def`endants conspired together to conduct such
pattern ofracketeering activity in violation of 18 U.iS \C. § 1962(d)\

231 Ihe Plaintiffs aver that the Def`endants utilized the United States mails and wires in
connection with the business of selling alleged investments to the Plaintiff`s in this action in
violation of 15 U.S.C.\ §7'7 (fff) and §7'7 (e)`

241 The Plaintiff`s aver that, in connection with the unlawful solicitation of funds as a
material part ofthe scheme or artifice to defi'aud, and to obtain money or property by means
of false and fraudulent pretenses, representations, or promises, the Def`endants sent documents
by United States mail and wire in violation of 18 U.S.C.\ §1341, 15 U\S.\C\ §78 (j)(b), 15
U.S.,C.i §77 (q)(a)(l)(Z)(b), 15 U.S.,C.i §`77 (e).

25 The Plaintiffs aver that statements, payments and representations were false regarding
the terms, conditions and consequences of such transactions in violation of 18 U.iS.iC\ § 1341,
15 U.\S\.C\ §77 (q)(a)(l)(2) and (b), 15 U.iSiC\ §7'7 (e).i

26.\ The Plaintiff`s aver that, as a direct and proximate result ofthe Def`endants’ actions, the
Plaintiff`s have suffered injuries in their business and property, including the loss of money

paid to and invested with the Def`endants

Case 3:08-cv-00335 Document 1 Fi|e§l 04/07/08 Page 5 of 12 Page|D #: 5

 

27. The Plaintiffs aver that the Def`endants utilized the United States mails and wires in
effecting this scheme, and the Defendants could foresee that the United States Postal Service
and interstate wires would be used for the purpose of advancing, furthering, executing,
concealing, conducting, participating in or carrying out the scheme, within the meaning of 18
U S\.C. § 1341 and § 1343. In particular, the Def`endants could foresee that the United States
Postal Service and the interstate wires would be used to receive and/or deliver, inter alia,
invoices, payments, statements, and requests for payment regarding the unlawful sale of
investments, and they knew that these would be traveling in interstate commerce

28 Ihe Plaintiffs aver that the Defendants, Charles l\/l\. Vaughn, CM Vaughn, LLC, Livid
Media, LLC, CM Vaughn Emerging Ventures, L.`P., CM Vaughn Asset Management, L P`,
and lohn Does 1-4, acting singly and in concert, personally or through their agents, as co~
conspirators, or as aiders and abettors, and other unnamed conspirators, using the United
States Postal Service and interstate wires or caused the United States Postal Service or
interstate wires to be used for the purpose of “advancing, furthering, executing, concealing,
conducting, participating in or carrying out” the Defendants’ scheme within the meaning of
18 U\.S.C.\ § 1341 and § 1343\. These events occurred on divers days from 2006 through the
present and in multiple communications and uses ofthe mails and wires

291. The Plaintiffs aver that each and every use of the United States Postal Service or
interstate wires described above was committed by the Defendants with the specific intent to
defraud the Plaintiff`s or for obtaining the money or property of the Plaintiffs by means of
false or fraudulent pretenses, representations, or promises Ihese acts of mail and wire fraud
in violation of 18 U.S.,C., § 1341 and § 1343 constitute racketeering activity as defined by 18

U.S.C. § 1961(1)(1'.))`

Case 3:08-cv-00335 Document 1 Fi|eg 04/07/08 Page 6 of 12 Page|D #: 6

 

30 The Plaintiff`s aver that they were the target of the fraudulent scheme described above
in that the objective of the scheme was to enable the Defendants to obtain money through
false pretenses and pretenses without consideration

311 lhe Plaintiffs aver that the Def`endants’ actions constitute a continued “enterprise” and
not isolated instancesl The Def`endants continue to operate their criminal enterprises

32. The Plaintiff`s aver that the Defendants’ actions are ongoing and that there is a real
threat of these actions continuing in the future because there are numerous fraudulent uses of
the United States Postal Service and wires to conduct the Defendants’ scheme on multiple
victims, including all of the named Plaintiff's in this action and other victims throughout the
United States

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COUNT ONE:
VIOLATIONS OF THE RACKETEER INFLUENCED AND CORRUPT
ORGANIZATIONS PRACTICES ACT IN VIOLATION OF 18 U.S.C § 1962(€)

33 The Plaintif'f`s re-allege and restate paragraphs 1-32 in support ofthe following cause
of action.

34. The Plaintiffs aver that, at all relevant times, the Def`endants constituted an
“enterprise” within the meaning of 18 U.SC\ §1961(4) and § 1962 (c) in that they were
corporations or other jur idical entities

35.` Ihe Plaintiffs aver that Def`endants, Charles Mi Vaughn, and .lohn Does 1-4, were
“individual persons” within the meaning of 18 U.,S.,C., § 1961(3) and § 1962(c) who associated
with and/or participated in the conduct of said enterprises’ affairs

36 The Plaintiffs aver that the Def`endants conducted, participated in, engaged in,

conspired to engage in, or aided and abetted, the conduct of the affairs of the enterprise

through a pattern of racketeering activity within the meaning of 18 U.S.C. § 1961(1), §

Case 3:08-cv-00335 Document 1 Fi|eri:l 04/07/08 Page 7 of 12 Page|D #: 7

 

1961(5), and § 1962(c). The pattern of racketeering activity consists of mail and wire fraud
(as described with particularity in numbered paragraphs 1-32, .supr'a)`. fhese acts all occurred
after the effective date ofthe RICO Act, and more than two (2) such acts occurred within ten
(10) years of one another.
37\. Ihe Plaintiffs aver that, in the alternative, at all relevant times, some or all of the
following constituted an “enterprise” within the meaning of 18 U.\S.\C.\ § 1961(4) and §
1962(c) in that they were “a group of individuals associated in fact” »»~ Charles M. Vaughn and
ilohn DOeS l-4 Def`endants, CM Vaughn, LLC, Livid Media, LLC, Cl\/l Vaughn Emerging
Ventures, L.\P. and CM Vaughn Asset Management, L.P\., were an “enterpr'ise” within the
meaning of 18 U,S.\C.\ § 1961\.
38 lhe Plaintiffs aver that, at all relevant times, the enterprises were engaged in, and their
activities affected, interstate commerce
39 The Plaintiffs aver that all of the predicate acts described herein were related so as to
establish a pattern of racketeering activity, within the meaning of 18 U.S.C.` § 1962(c), in that
their common purpose was to defraud the Plaintif`fs, their common result Was to defraud the
Plaintiffs of money, personally or through their agent or agents directly or indirectly,
participate in all ofthe acts of racketeering; and/or the acts of racketeering were otherwise
related by distinguishing characteristics and were not isolated events
40 The Plaintiffs aver that all of the predicate acts described herein were continuous so as
to form a pattern of racketeering activity in that the Def`endants engaged in the predicate acts
over a substantial period of time or in that such predicate acts had become the Defendants’

regular way of conducting business and said business practices have continued to the present.

Case 3:08-cv-00335 Document 1 Fi|e§ 04/07/08 Page 8 of 12 Page|D #: 8

41, The Plaintiff's aver that, as a direct and proximate result of§ and by reason of`, the
activities of the Defendants and their conduct in violation of 18 U.`S.\C.\ § 1962(c), the
Plaintiffs have been injured in their business and property, within the meaning of 18 U\.S\.C. §
1964(0). Ihe Plaintiff's are, therefore, entitled to recover, three~fold, the damages they have
sustained, together with the costs of this lawsuit, including costs, reasonable attorney’s fees,

and reasonable experts’ fees

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COUNT TWO:
VIOLATIONS OF THE RACKETEER INFLUENCED AND CORRUPT
ORGANIZATIONS PRACTICES ACT IN VIOLATI()N OF 18 U.S.C 81962(1))

jCONSPIRACY[
42, The Plaintiffs re-allege and restate paragraphs 1-41 in support of' the following cause
of actionl
43\. The Plaintiff's aver that the Defendants conspired to conduct or participate, directly or
indirectly in the conduct of the affairs of the enterprises through a pattern of racketeering
activity in violation of 18 U\.S\.C. § 1962 (d)` ln particular, the Defendants intended to further
an endeavor which, if completed, and as completed, would satisfy all of the elements of a
substantive RlCO criminal offense and an adopted goal of furthering or facilitating the
criminal behaviorl
44 The Plaintiff's aver that the Defendants and their overt acts are acts ofracketeering or
otherwise unlawful under the RICO statute, which included (among other acts) acts of mail
fraud and wire fraud (as described with particularity in paragraphs 1-41, supra)\
45 lhe Plaintiff's aver that, as a direct and proximate result of, and by reason of, the
activities of the Def`endants and their conduct in violation of 18 U.iS.`C.\ § 1962 (d), the

Plaintiff's have been injured in their business and property, within the meaning of 18 U S\C.

Case 3:08-cv-00335 Document 1 Fi|e§l 04/07/08 Page 9 of 12 Page|D #: 9

 

§ 1964 (c).i Among other things, the Plaintiffs have suffered damages to the extent that they
invested money with Defendants Charles M\ Vaughn, Cl\/I Vaughn, LLC, CM Vaughn
Emerging Ventures, L\.P., and CM Vaughn Asset Management, L..Pi., based on false
misrepresentations The Plaintiffs aver that they are, therefore, entitled to recover, three-fold,
the damages they have sustained, together with the cost of this lawsuit, including costs,

reasonable attorney’s fees, and reasonable experts’ fees

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COUNT THREE:
VIOLATIONS OF THE TENNESSEE CONSUMER PROTECTION ACT PURSUANT
TO TENN. COI)E ANN. §47-18-104 ET SEO.

46. lhe Plaintiffs rely upon the factual averments in numbered paragraphs 1-45 in support
ofthe following cause of action

47 fhe Plaintiff's aver that the Defendants have violated the fennessee Consumer
Protection Act by engaging in conduct in interstate commerce which has had an effect on
interstate commerce that both is deceptive and unfair to the consumer Ihe Plaintiffs aver that
they are consumers Within the meaning ofthe Act`

48 Ihe Plaintiffs aver that the Defendants misrepresented that they were investing the

Plaintiffs’ money when, in fact, they were converting it and this constitutes violations of the

fennessee Consumer Protection Act.

49.` lhe Plaintiffs aver that, as a direct and proximate result of the Defendants’
misrepresentations unfair trade practices and deceptive trade practices, the Plaintiff's have

sustained financial damages

Case 3:08-cV-00335 Document 1 Fi|eq5)4/O7/08 Page 10 of 12 Page|D #: 10

50, `fhe Plaintiff's aver that the Defendants have acted intentionally and knowingly within
the meaning of the Act and, therefore, are liable to the Plaintiffs for treble damages as a direct

and proximate result

WHEREFORE, PREMISES CONSIDERED, THE PLA]NTIFFS PRAY
FOR THE FOLL()WING RELIEF:

l . Ihat the Defendants be served with process and be required to answer within the time
allowed by law;

2. fhat the Plaintiff's be awarded judgments against the Defendants, jointly and sever'ally,
for compensatory damages in amounts in excess of$ `75,000.,00;

3.\ lhat the Plaintiff's be awarded punitive damages against the Defendants in an amount
to be determined by the jury for their intentional, willful, knowing, fraudulent, and dishonest
violations ofthe law;

4.` `fhat a temporary, mandatory, and permanent injunction be entered against the
Defendants, restraining them from dissipating or wasting any assets obtained by them
unlawfully;

5.. That the Plaintiff's be awarded damages against the Defendants in an amount such as
the Court shall deem appropriate and at treble the amount of said damages pursuant to 18

U\.S.,C.` § 1964 (c) and fennessee Code Ann. § 47-18-104 er seg;

6. fhat the damages be trebled pursuant to 18 U\S,C. § 1984 (c);
7., Ihat the Plaintiffs be awarded punitive damages in an amount to be set by the jury;
8.\ lhat the Plaintiffs be awarded all costs of litigation incurred, including reasonable

attorney’s fees, costs, disbursements and expenses pursuant to 18 U\S.C. § 1964 (c); and

fennessee Code Ann.` § 4'7-18-104 et segz‘

Case 3:08-cV-00335 Document 1 Fi|eq 104/07/08 Page 11 of 12 Page|D #: 11

 

9. fhat the Plaintiff`s be awarded such other, further relief`to which they may be entitled;

10. fhat a_jury be impaneled to hear this action

THIS IS THE FIRST APPLICATION FOR EXTRAODINARY RELIEF IN THIS
MATTER.

Respectfully submi

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Case 3:08-cV-00335 Document 1 Fi|ecl£)4/O7/08 Page 12 of 12 Page|D #: 12

 

